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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

MICHAEL DONIO,                             )
                                           )
           Plaintiff,                      )
                                           )
      v.                                   )         Case No. 4:23 CV 1506 CDP
                                           )
ARCH ONCOLOGY,                             )
                                           )
           Defendant.                      )

                         MEMORANDUM AND ORDER

      On April 11, 2024, I ordered this case referred to mediation, designated

plaintiff’s counsel Kristine Shilt as lead counsel, and required her to “notify the

clerk of the agreed choice of neutral selected by the parties and the date, time and

location of the initial ADR Conference” no later than August 19, 2024. (ECF 18.)

When the Designation of Neutral/ADR Conference Report form was not filed as

directed, the Clerk of Court notified counsel of this noncompliance on August 26

and instructed that “a written motion requesting an extension of the designation of

neutral/ADR conference report filing deadline must be filed with the court within 5

days.” (ECF 21.) More than five days have passed, and attorney Shilt has

continued to fail to comply with my Order of April 11 and the Clerk’s instruction

of August 26. The ADR referral in this action terminates September 30, 2024.

      This is not the first time plaintiff and his counsel have failed to comply with
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a Court Order in this case, and they were cautioned in March 2024 that “continued

failure to comply with Court Orders or actively pursue [this] case will result in

dismissal for failure to prosecute.” (ECF 14, Memo. & Order, at pp. 3-4.) I will

give plaintiff and his counsel one more opportunity to comply with an Order of this

Court and will direct lead counsel Shilt to file the Designation of Neutral/ADR

Conference Report form not later than September 10, 2024. Failure to timely

comply will result in the dismissal of this action for failure to comply with Court

Orders and failure to prosecute.

      Accordingly,

      IT IS HEREBY ORDERED that not later than Tuesday, September 10,

2024, lead counsel Kristine Shilt shall file the Designation of Neutral/ADR

Conference Report form as previously ordered. Failure to timely comply with

this Order will result in the dismissal of this case for repeated failure to

comply with Court Orders and for failure to prosecute.




                                         ____________________________________
                                         CATHERINE D. PERRY
                                         UNITED STATES DISTRICT JUDGE


Dated this 5th day of September, 2024.
